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     OSCAR LOPEZ
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         ) CASE NO. 2:07-CR-00406 MCE
                                       )
12              Plaintiffs,            ) AMENDED STIPULATION AND
                                       ) ORDER TO CONTINUE
13   vs.                               ) STATUS HEARING FOR DEFENDANT
                                       )
14                                     )
     OSCAR LOPEZ,                      )
15                                     )
                Defendants.            )
16                                     )
17
           IT IS HEREBY STIPULATED by and between defendant OSCAR
18
     LOPEZ, through his attorney, ROBERT L. FORKNER, and
19
     plaintiff United States of America, through its counsel of
20
     record, Assistant United States Attorney JILL MARIE THOMAS,
21
     hereby stipulate and request the following:
22
           1.   The presently scheduled status hearing date of
23
     December 18, 2008, at 9:00 a.m., in court room 7 before the
24
     HONORABLE JUDGE MORRISON C. ENGLAND JR. shall be vacated and
25
     set for Sentencing on February 5, 2009 at 9:00 a.m.
26
           2.   The defense has requested the continuance in order
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28                                        1
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 1   to permit a complete review of the files with the defendant,
 2   which is needed to be completed before sentencing.
 3
 4   DATED: December 17, 2008           /s/ ROBERT L. FORKNER
                                       Attorney for Defendant
 5                                     OSCAR LOPEZ
 6
     DATED: December 17, 2008           /s/ JILL MARIE THOMAS
 7                                     Assistant US Attorney
                                       JILL MARIE THOMAS
 8
 9
10
11
                                       ORDER
12
13        IT IS HEREBY ORDERED that the status hearing be vacated
14   and the matter be set for Sentencing on February 5, 2009 at
15   9:00 a.m., in court room 7 for the defendant OSCAR LOPEZ.
16        IT FURTHER APPEARING that the continuance would permit
17   the defense to conduct necessary investigation and adequate
18   preparation for the hearing in this case.
19
20
     Dated: December 19, 2008
21
                                       ________________________________
22                                     MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE
23
24
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28                                        2
